  Case 4:24-cv-01135-P Document 5 Filed 12/12/24  Page 1 of 1                                                       PageID 20
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT  WORTH
                             __________DIVISION


                                     WAIVER OF SERVICE OF SUMMONS


                                         Starling v. Economic Trading, Inc. dba Offer Tax
RE:       Caption of Action:             __________________________________
                                         4:24-cv-1135
          Case Number:                   __________________________________

                                          Max S. Morgan
TO:                                      __________________________________
                                         (Name of Plaintiff’s Attorney or Unrepresented Plaintiff)


        I acknowledge receipt of your request that I waive service of a summons in the action stated
above, which was filed in the United States District Court for the Northern District of Texas. I have
also received a copy of the complaint in the action, two copies of this Instrument, and a means by
which I can return the signed waiver to you without cost to me.

        I agree to save the cost of service of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
process in the manner provided by Rule 4.

       I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the Court except for objections based on a defect in the
summons or in the service of the summons.

        I understand that a judgment may be entered against me (or the party on whose behalf I am
acting) if an answer or motion under Rule 12 is not served upon you within 60 days after the date
                                   February 7, 2024
the request was sent, which was ________________________,      or within 90 days after that date if
the request was sent outside the United States.

 December 9, 2024
__________________                                 /s/ Matthew R. Pitts
                                                    ______________________________________________
Date                                                Signature

                                                     Matthew Pitts
                                                    ______________________________________________
                                                    Printed/Typed Name
                                                     Economic Trading, Inc.
                                                    ______________________________________________
                                                    For Defendant

                                Duty to Avoid Unnecessary Costs of Service of Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving costs of service of the
summons and complaint. A defendant located in the United States who after being notified of an action and asked by a plaintiff
located in the United States to waive service of a summons, fails to do so will be required to bear the cost of such service unless good
cause be shown for its failure to sign and return the waiver.
           It is not good cause for a failure to waive service that a party believes that the complaint is unfounded or that the action
has been brought in an improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or
property. A party who waives service of the summons retains all defenses and objections (except any relating to the summons or to
the service of the summons), and may later object to the jurisdiction of the Court or to the place where the action has been brought.
           A defendant who waives service must within the time specified on the waiver form serve on the plaintiff’s attorney (or
unrepresented plaintiff) a response to the complaint and must also file a signed copy of the response with the Court. If the answer
or motion is not served within this time, a default judgment may be taken against that defendant. By waiving service, a defendant is
allowed more time to answer than if the summons had been actually served when the request for waiver of service was received. ..
